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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                            No. CR 09-3078 JB

JEREMIAH WRIGHT,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion to Produce Favorable

Evidence and Request for In Camera Review, filed November 19, 2009 (Doc. 29). The Court held

a hearing on February 11, 2010. The primary issue is whether the Court should compel the United

States to search for and disclose all evidence favorable to Defendant Jeremiah Wright. For the

reasons stated on the record and for further reasons consistent with those stated, the Court will deny

the motion without prejudice.

       Wright’s motion requests the Court to compel a plethora of materials from law enforcement

agencies, including: the New Mexico State Police, the Farmington Police Department, the

Bloomfield Police Department, the Aztec Police Department, the San Juan County Sheriff’s Office,

the New Mexico Department of Public Safety, Crime Laboratory Bureau, the Rio Arriba County

Sheriff’s Office, the Bernalillo County Sheriff’s Office, the Federal Bureau of Investigation, the

Bureau of Alcohol, Tobacco, Firearms and Explosives, the Region II Narcotics Task Force, the Drug

Enforcement Administration, the United States Marshal’s Office, the United States Attorney’s

Office, the United States Department of Justice, the United States Bureau of Prisons, the
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Immigration and Customs Enforcement Agency, the Eleventh Judicial District Attorney’s Office,

and any other governmental agencies that participated in investigating Wright. See Motion at 1-2.

In response, the United States argues that this motion is a rehashing of Wright’s Motion for the

Disclosure of Personnel Files and Supporting Authority, filed November 17, 2009 (Doc. 27).

See Government’s Response to Defendant’s Motion to Produce Favorable Evidence and Request

for In Camera Review at 1, filed December 22, 2009 (Doc. 44). The United States acknowledges

in its response its continuing disclosure duties. See Response at 1.

       At the hearing, Dennis W. Montoya, Wright’s attorney, argued that this motion is different

than Wright’s other motions because it requests the Court to direct the United States to do a diligent

search of its files for exculpatory evidence.             See Transcript of Hearing at 14:3-5

(taken February 11, 2010)(“Tr.”)(Montoya).1 He contended that he will be able to assert a more

specific motion after he has received discovery from the United States and that he will almost

certainly file another motion like this one before the trial. See Tr. at 14:7-11 (Montoya). Assistant

United States Attorney Jon. K. Stanford stated that he expects the superceding indictment sometime

in March 2010, which has delayed the United States’ disclosure of discovery. See Tr. at 9:14-15

(Stanford). He further stated that the United States is committed to conducting a diligent search and

disclosure of all evidence that is favorable to Wright, and will faithfully honor its discovery

obligations to Wright. See Tr. at 14:16-17 (Stanford).

       The Court believes, because the United States has not yet produced its discovery, Wright’s

motion is premature, and that the breadth and scope of the motion is the result of its

prematurity. The Court further believes that the United States has been put on notice of its


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         The citations to the transcript of the hearing refer to the court reporter’s original, unedited
version. Any final transcript may have slightly different page and/or line numbers.

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obligations, and the Court accepts the United States’ representations on the record before the Court

that it will faithfully honor its discovery obligations. The Court will deny the motion without

prejudice to Wright renewing the motion at the appropriate time if he believes the United States has

not complied with its discovery obligations.

       IT IS ORDERED that the Defendant’s Motion to Produce Favorable Evidence and Request

for In Camera Review is denied without prejudice to Defendant Jeremiah Wright renewing the

motion if appropriate.


                                                             _______________________________
                                                             UNITED STATES DISTRICT JUDGE


Counsel:

Gregory J. Fouratt
  United States Attorney
Jon K. Stanford
  Assistant United States Attorney
Albuquerque, New Mexico

       Attorneys for the Plaintiff

Dennis W. Montoya
Montoya Law, Inc.
Rio Rancho, New Mexico

       Attorney for the Defendant




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